43 F.3d 1469
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Tony M. MANFRE, Defendant Appellant.
    No. 94-6888.
    United States Court of Appeals, Fourth Circuit.
    Submitted November 17, 1994.Decided December 16, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at New Bern.  Malcolm J. Howard, District Judge.  (CR-93-18, CA-94-74)
      Tony M. Manfre, appellant pro se.  Captain Kenneth Eric Lawson, United States Marine Corps, Camp Lejeune, NC, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Manfre, Nos.  CR-93-18;  CA-94-74 (E.D.N.C. July 29, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    